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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                SHERMAN DIVISION

 DILIP JANA,                                     §
                                                 §
         Plaintiff,                              §
                                                 §
 v.                                              §            Civil Action No. 4:24-cv-00698-BD
                                                 §
 WALMART INC.,                                   §
                                                 §
         Defendant.                              §


                                     PROTECTIVE ORDER

       Protection of the identified categories of confidential information is necessary because

discovery in this action will require disclosure of documents that are relevant to the claims and

defenses asserted, and it is likely that such documents will contain confidential personal

information, financial information, and/or proprietary or trade secret information of the parties.

       For good cause shown under Federal Rule of Civil Procedure 26(c), the Court hereby enters

the following Protective Order:

                         I. PROCEEDINGS AND INFORMATION GOVERNED

       1. This Protective Order is made under Federal Rule of Civil Procedure 26(c). It governs

any document, information, or other thing furnished by any party or third party to any other party,

and it includes any non-party who receives a subpoena in connection with this action. The

information protected includes, but is not limited to: answers to interrogatories; answers to requests

for admission; responses to requests for production of documents; deposition transcripts and

videotapes; deposition exhibits; and other writings or things produced, given, or filed in this action

that are designated by a party or non-party as “Confidential Information” in accordance with the

terms of this Protective Order, as well as to any copies, excerpts, abstracts, analyses, summaries,
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descriptions, or other forms of recorded information containing, reflecting, or disclosing such

information.

                    II. DESIGNATION AND MAINTENANCE OF INFORMATION

        2. For purposes of this Protective Order, the “Confidential Information” designation means

that the document or information is comprised of: (i) proprietary information and literature; (ii)

sensitive business or financial information; (iii) confidential research, development, or commercial

information; (iv) trade secrets; (v) financial, technical, marketing, or commercial information that

is not publicly known and is of technical or commercial advantage to its possessor, in accordance

with Federal Rule of Civil Procedure 26(c)(1)(G); or (vi) other information required by law or

agreement to be kept confidential including, but not limited to, confidential or sensitive personal

information concerning current or former employees (such as addresses and phone numbers, social

security numbers, HIPAA information, familial information, and financial information).

Confidential Information does not include, and this Protective Order does not apply to, information

that is already in the knowledge or possession of the party to whom disclosure is made (the

“Receiving Party”) unless the Receiving Party is already bound by agreement not to disclose such

information, or information that has been disclosed to the public or third persons in a manner

making such information no longer confidential.

       3. Documents and things produced during the course of this litigation within the scope of

paragraph 2 above may be designated in good faith by the party or non-party producing the

document or thing to the Receiving Party (the “Producing Party”) as containing Confidential

Information by placing on each page and each thing a legend, or otherwise conspicuously

designating electronically stored information, substantially as follows:

        CONFIDENTIAL INFORMATION SUBJECT TO PROTECTIVE ORDER




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       4. A party may designate information disclosed at a deposition as Confidential Information

by requesting the court reporter to so designate the transcript or any portion of the transcript at the

time of the deposition. If no such designation is made at the time of the deposition, any party will

have fourteen (14) calendar days after receipt of the final deposition transcript to designate, in

writing to the other parties and to the court reporter, whether the transcript, or portions of the

transcript, are to be designated as Confidential Information. If no such designation is made at the

deposition or within this fourteen (14) calendar-day period (during which period the transcript

must be treated as Confidential Information, unless the disclosing party consents to non-

confidential treatment of the information), the entire deposition will be considered devoid of

Confidential Information. Each party and the court reporter must attach a copy of any final and

timely written designation notice to the transcript and each copy of the transcript in its possession,

custody, or control, and the portions designated in such notice must thereafter be treated in

accordance with this Protective Order.

                           III. INADVERTENT FAILURE TO DESIGNATE

       5. The inadvertent failure to designate any information or documents containing

information as Confidential Information will not be deemed to waive a later claim that such

information is Confidential Information or to stop the Producing Party from designating such

information as Confidential Information at a later date in writing and with particularity. The

information must be treated by the Receiving Party as Confidential Information from the time the

Receiving Party is notified in writing of the change in the designation. Within three (3) days of

receiving a written request to do so from the Producing Party, the Receiving Party shall return to

the Producing Party or destroy, and certify in writing such destruction, any documents or tangible

items that the Producing Party represents were inadvertently or mistakenly produced without the

Confidential Information designation. The Receiving Party shall also destroy all copies of any such

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inadvertently or mistakenly undesignated information. At the same time this request is made, the

Producing Party must reproduce to the Receiving Party the mistakenly undesignated information

with the proper Confidential Information designation.

       6. This Protective Order is intended to be an order within the meaning of Federal Rules of

Evidence 502(d) and 502(e) and to be accorded scope to the fullest extent permitted thereunder.

Nothing in this Protective Order shall be construed to require disclosure of information,

documents, or tangible items that counsel contends are protected from disclosure by the attorney-

client privilege, the attorney work product immunity, or any other applicable privilege or

immunity.

                               IV. CHALLENGE TO DESIGNATIONS

       7. A Receiving Party may challenge a Producing Party’s designation at any time. Any

Receiving Party disagreeing with a designation may request in writing that the Producing Party

change the designation. The Producing Party will then have ten (10) business days after receipt of

a challenge notice to advise the Receiving Party whether it will change the designation. If the

parties are unable to reach an agreement after the expiration of ten (10) business days, and after

the conference required under Local Rule CV-7(h), the Receiving Party may at any time thereafter

seek an order to alter the confidential status of the designated information. Until any dispute under

this paragraph is ruled upon by the presiding judge, the designation will remain in full force and

effect, and the information will continue to be accorded the confidential treatment required by this

Protective Order.

                    V. DISCLOSURE AND USE OF CONFIDENTIAL INFORMATION

       8. Information designated as Confidential Information may only be used for purposes of

preparation, trial, and appeal of this action. Confidential Information may not be used under any

circumstances for any other purpose.

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       9. Subject to paragraph 10 below, Confidential Information may be disclosed by the

Receiving Party only to the following individuals, provided that such individuals are informed of

the terms of this Protective Order and the terms in paragraph 10 of this Protective Order are

satisfied: (a) in the case of an individual Receiving Party, then the Receiving Party; (b) in the case

of an entity Receiving Party, two (2) employees of the Receiving Party who are required in good

faith to provide assistance in the conduct of this litigation, including any settlement discussions,

and who are identified as such in writing to counsel for the Producing Party in advance of the

disclosure; (c) two (2) in-house counsel who are identified by the Receiving Party; (d) outside

counsel for the Receiving Party; (e) employees and independent contractors of (c) and (d), such as

paralegals, legal secretaries, data entry clerks, legal clerks, and private photocopying services, to

whom it is necessary that the material be shown for purposes of this litigation; (f) experts and

consultants; (g) any persons requested by counsel to furnish services such as document coding,

image scanning, mock trial, jury profiling, translation services, court reporting services,

demonstrative exhibit preparation, or the creation of any computer database from documents in

connection with this litigation; (h) the Court and its personnel; and (i) if the Court so elects, any

other person designated by order of this Court after notice and hearing to all parties.

       10. Prior to disclosing Confidential Information to an individual Receiving Party or the

Receiving Party’s proposed expert, consultant, or employees designated pursuant to Paragraph

9(b), such individual must provide to the Producing Party a signed Confidentiality Agreement in

the form attached as Exhibit A. If the proposed individual is an expert or consultant, such

individual also must provide the expert or consultant’s resume or curriculum vitae, the expert or

consultant’s business affiliations, and a list of all other cases in which, during the previous four

years, the expert or consultant testified as an expert at trial or by deposition under Federal Rule of

Civil Procedure 26(a)(2)(B)(v). The Producing Party will thereafter have ten (10) business days

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from receipt of the Confidentiality Agreement to object to any proposed individual. The objection

must be made for good cause and in writing, stating with particularity the reasons for the objection.

Failure to object within ten (10) business days constitutes approval. If the parties are unable to

resolve any objection, the Receiving Party may apply to the presiding judge to resolve the matter.

There will be no disclosure to any proposed individual during the ten-day objection period unless

that period is waived by the Producing Party or, if any objection is made, until the parties have

resolved the objection or the presiding judge has ruled upon any resultant motion.

       11. Counsel for the hiring party is responsible for the adherence by third-party vendors to

the terms and conditions of this Protective Order. Counsel may fulfill this obligation by obtaining

a signed Confidentiality Agreement in the form attached as Exhibit B.

       12. Confidential Information may be disclosed to a person who is not already allowed

access to such information under this Protective Order if:

       (a) the information was previously received or authored by the person or was authored or

received by a director, officer, employee, or agent of the company for which the person is testifying

as a designee under Federal Rule of Civil Procedure 30(b)(6), and that person agrees to be bound

by this Order;

       (b) the person is a director, officer, employee, consultant, or agent of the Producing Party;

or

       (c) counsel for the Producing Party agrees that the material may be disclosed to the person.

       In the event of disclosure under this paragraph, only the court reporter, the person, his or

her counsel, the presiding judge, and persons to whom disclosure may be made and who are bound

by this Protective Order, may be present during the disclosure or discussion of Confidential

Information. Disclosure of material under this paragraph does not constitute a waiver of the

confidential status of such material.

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                                  VI. NON-PARTY INFORMATION

        13. The existence of this Protective Order must be disclosed to any person producing

documents, tangible things, or testimony in this action who may reasonably be expected to desire

confidential treatment for such documents, tangible things, or testimony. Any such person may

designate documents, tangible things, or testimony as Confidential Information pursuant to the

procedure outlined for parties in this Protective Order.

                           VII. FILING DOCUMENTS WITH THE COURT

        14. If any party wishes to submit to the Court information that the party seeks to keep under

seal—for instance, information designated as Confidential Information—the party must also file a

motion to seal pursuant to Local Rule CV-5(a)(7). The Court will evaluate such motions in

accordance with the judicial-record sealing standard.

        Such submissions must be filed under seal on CM/ECF, if filed electronically, or, if filed

in hard copy, in a sealed envelope bearing the caption of this action and a notice in the following

form:

                              CONFIDENTIAL INFORMATION

                       Jana v. Walmart Inc., Civ. No. 4:24-cv-00698-BD

  This envelope, which is being filed under seal, contains documents that are subject to a
          Protective Order governing the use of confidential discovery material.

                                       VIII. NO PREJUDICE

        15. Producing or receiving Confidential Information, or otherwise complying with the

terms of this Protective Order, will not: (a) operate as an admission by any party that any particular

Confidential Information contains or reflects trade secrets or any other type of confidential or

proprietary information; (b) prejudice the rights of a party to object to the production of

information or material that the party does not consider to be within the scope of discovery; (c)



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prejudice the rights of a party to seek a determination by the presiding judge that particular

materials be produced; (d) prejudice the rights of a party to apply to the presiding judge for further

protective orders; or (e) prevent the parties from agreeing in writing to alter or waive the provisions

or protections provided for in this Protective Order with respect to any particular information or

material.

                                 IX. CONCLUSION OF LITIGATION

       16. Within sixty (60) calendar days after final judgment in this action, including the

exhaustion of all appeals, or within sixty (60) calendar days after dismissal pursuant to a settlement

agreement, each party or other person subject to the terms of this Protective Order is under an

obligation to destroy or return to the Producing Party all materials and documents containing

Confidential Information, and to certify to the Producing Party that this destruction or return has

been completed. However, outside counsel for any party is entitled to retain all court papers, trial

transcripts, exhibits, and attorney work product provided that any such materials are maintained

and protected in accordance with the terms of this Protective Order.

                                     X. OTHER PROCEEDINGS

       17. By entering this Protective Order and limiting the disclosure of information in this case,

the presiding judge does not intend to preclude another court from finding that information may

be relevant and subject to disclosure in another case. Any person or party subject to this Protective

Order who may be subject to a motion to disclose a Producing Party’s information designated as

Confidential Information pursuant to this Protective Order must promptly notify that Producing

Party of the motion so that the Producing Party may have an opportunity to appear and be heard

on whether that information should be disclosed.




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                                            XI. REMEDIES

        18. It is ORDERED that this Protective Order will be enforced by the sanctions set forth

in Federal Rule of Civil Procedure 37(b) and any other sanctions as may be available to the

presiding judge, including the power to hold parties or other violators of this Protective Order in

contempt. All other remedies available to any person injured by a violation of this Protective Order

are fully reserved.

        19. Any party may petition the presiding judge for good cause shown if the party desires

relief from a term or condition of this Protective Order.

                                        XII. MISCELLANEOUS

        20. Nothing in this Order shall bar counsel from rendering advice to their client with respect

to this litigation and, in the course thereof, relying upon any information designated under this

Protective Order as Confidential Information provided that counsel does not disclose the material

contents of the designated information in a manner not specifically authorized under this Order.

        21. Nothing in this Protective Order shall be deemed to prevent the parties from introducing

any information designated under this Protective Order as Confidential Information into evidence

at the trial of this action, or from using any information designated under this Protective Order as

Confidential Information at the trial of this action, subject to any pretrial order issued by this Court.

        22. The parties may, by stipulation, provide for exceptions to this Protective Order.

        23. Nothing in this Protective Order shall be construed to effect an abrogation, waiver, or

limitation of any kind on the rights of the parties to assert any applicable discovery or trial

privilege.

        24. All obligations and duties arising under this Protective Order shall survive the

termination of this action. The Court retains jurisdiction indefinitely over the parties and any




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 persons provided access to Confidential Information under the terms of this Protective Order with

 respect to any dispute over the improper use of such Confidential Information.

        25. Nothing in this Protective Order shall prejudice the right of any party to bring before

 the Court at any time the question of whether any greater or lesser restrictions should be placed

 upon the disclosure of any Confidential Information. Each party shall retain the right to file a

 motion with the Court to: (a) modify this Protective Order to allow disclosure of information

 designated hereunder as Confidential Information to additional persons or entities if reasonably

 necessary to prepare and present this action; and (b) apply for additional protection of information

 designated under this Protective Order as Confidential Information. In the event a new party is

 added, substituted, or brought into this action, this Protective Order will be binding on and inure

 to the benefit of the new party, subject to the new party’s right to seek relief from or modification
          .
 of this Protective Order, as set forth herein.

         So ORDERED and SIGNED this 27th day of June, 2025.



                                             ________________________________________
                                             Bill Davis
                                             United States Magistrate Judge




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                                            EXHIBIT A

                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION

  DILIP JANA,                                      §
                                                   §
         Plaintiff,                                §
                                                   §
  v.                                               §         Civil Action No. 4:24-cv-00698-BD
                                                   §
  WALMART INC.,                                    §
                                                   §
         Defendant.                                §

                 CONFIDENTIALITY AGREEMENT FOR ANY PARTY,
                EMPLOYEE OF ANY PARTY, EXPERT, OR CONSULTANT

 I hereby affirm that:

        Information, including documents and things, designated as “Confidential Information,” as

 defined in the Protective Order in the above-captioned action, is being provided to me pursuant to

 the terms and restrictions of the Protective Order.

        I have been given a copy of and have read the Protective Order.

        I am familiar with the terms of the Protective Order and I agree to comply with and to be

 bound by its terms.

        I submit to the jurisdiction of this Court for enforcement of the Protective Order.

        I agree not to use any Confidential Information disclosed to me pursuant to the Protective

 Order except for purposes of the above-captioned litigation and not to disclose any of this

 information to persons other than those specifically authorized by the Protective Order, without

 the express written consent of the party who designated the information as Confidential

 Information or by order of the presiding judge.




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        I also agree to notify any stenographic, clerical, or technical personnel who are required to

 assist me of the terms of this Protective Order and of its binding effect on them and me.

        I understand that I am to retain all documents or materials designated as or containing

 Confidential Information in a secure manner, and that all such documents and materials are to

 remain in my personal custody until the completion of my assigned duties in this matter,

 whereupon all such documents and materials, including all copies thereof, and any writings

 prepared by me containing any Confidential Information are to be returned to counsel who

 provided me with such documents and materials or are to be destroyed.




 Date: __________________________________________



 Printed Name: _________________________________



 Signature: _____________________________________




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                                             EXHIBIT B

                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION

  DILIP JANA,                                     §
                                                  §
         Plaintiff,                               §
                                                  §
  v.                                              §           Civil Action No. 4:24-cv-00698-BD
                                                  §
  WALMART INC.,                                   §
                                                  §
         Defendant.                               §


           CONFIDENTIALITY AGREEMENT FOR THIRD-PARTY VENDORS

 I, on behalf of ______________________ (the “Vendor”) hereby affirm that:

        Information, including documents and things, designated as “Confidential Information,” as

 defined in the Protective Order in the above-captioned action, is being provided to the Vendor

 pursuant to the terms and restrictions of the Protective Order.

        I am an authorized representative of the Vendor.

        I have been given a copy of and have read the Protective Order.

        I am familiar with the terms of the Protective Order and I agree on behalf of the Vendor to

 comply with and to be bound by its terms.

        I submit to the jurisdiction of this Court for enforcement of the Protective Order.

        The Vendor agrees not to use any Confidential Information disclosed to the Vendor

 pursuant to the Protective Order except for purposes of the above-captioned litigation and not to

 disclose any of this information to persons other than those specifically authorized by the

 Protective Order, without the express written consent of the party who designated the information

 as Confidential Information or by order of the presiding judge.



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        I understand that the Vendor is to retain all documents or materials designated as or

 containing Confidential Information in a secure manner, and that all such documents and materials

 are to remain in the Vendor’s custody until the completion of the Vendor’s assigned duties in this

 matter, whereupon all such documents and materials, including copies thereof, and any writings

 prepared by the Vendor containing any Confidential Information, are to be returned to counsel

 who provided the Vendor with such documents and materials or are to be destroyed.




 Date: __________________________________________



 Vendor Name: _________________________________



 Representative Name: _________________________________



 Signature: _____________________________________




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